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‘»*"~.{D. O§“: TN, MEMPH¥S
ROBERT FULTON HUMPHREY,
Petitioner, Case No.: 04-2585 D
V.

T. C. OUTLAW,

Respondent.

 

ORDER DENYING MOTION FOR RECONSIDERATION

 

Before the court is Petitioner’s motion for reconsideration of the Court’s March 28, 2005
order dismissing his case. Upon review of the motion and the case file as a Whole, the Court finds
that Petitioner has not stated cause for relief.

Accordingly, the motion is summarily DENIED.

IT IS SO ORDERED this fagg day of

 
  

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ITED STATES DISTRICT JUDGE

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with sure 58 and/or 79(3) FHCP on §;~*6/‘ *Q ~D

 

 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 8 in
case 2:04-CV-02585 Was distributed by faX, mail, or direct printing on
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Robert Fulton Humphrey
FCI-l\/[El\/[PH[S
14399-076

P.O. Box 34550
Memphis7 TN 3 8184--05 5

Honorable Bernice Donald
US DISTRICT COURT

